     Case 1:16-cr-00113-LJO-SKO Document 20 Filed 10/13/16 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: 559-487-5561/Fax: 559-487-5950
 5
     Attorneys for Defendant
 6   ISIS ALI MALDONADO-SALINAS
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   ) Case No. 1:16-cr-00113 LJO-SKO-2
                                                  )
12                        Plaintiff,              ) STIPULATION AND ORDER TO ADVANCE
                                                  ) STATUS CONFERENCE
13    vs.                                         )
                                                  ) DATE: October 17, 2016
14    ISIS ALI MALDONADO-SALINAS,                 ) TIME: 8:30 p.m.
                                                  ) JUDGE: Hon. Lawrence J. O’Neill
15                        Defendant.              )
                                                  )
16                                                )
17
18           IT IS HEREBY STIPULATED by and between the parties hereto, through their
19   respective counsel, that the status conference in the above-captioned matter now set for
20   November 7, 2016 before the Honorable Sheila K. Oberto may be advanced to October 17, 2016
21   at 8:30 a.m., before the Honorable Lawrence J. O’Neill.
22           This advancement of the court date is at the request of the defense as the parties have
23   reached a resolution of the case and Mr. Maldonado-Salinas would like to enter his change of
24   plea.
25   ///
26   ///
27   ///
28   ///
     Case 1:16-cr-00113-LJO-SKO Document 20 Filed 10/13/16 Page 2 of 2


 1                                                              Respectfully submitted,
 2                                                              PHILLIP A. TALBERT
                                                                Acting United States Attorney
 3
     DATED: October 12, 2016                             By:    /s/ Daniel Griffin
 4                                                              DANIEL GRIFFIN
                                                                Assistant United States Attorney
 5                                                              Attorney for Plaintiff
 6                                                              HEATHER E. WILLIAMS
                                                                Federal Defender
 7
     DATED: October 12, 2016                             By:    /s/ Charles J. Lee
 8                                                              CHARLES J. LEE
                                                                Assistant Federal Defender
 9                                                              Attorneys for Defendant
                                                                ISIS ALI MALDONADO-SALINAS
10
11
12
13
                                                         ORDER
14
15
     IT IS SO ORDERED.
16
17        Dated:        October 13, 2016                         /s/ Lawrence J. O’Neill _____
                                                         UNITED STATES CHIEF DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28
     Rodrig
      Maldonado-Salinas: Stipulation to Advance Status    -2-
      Conference
